         Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 1 of 25




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF PENNSYLVANIA


    IN RE: NATIONAL FOOTBALL LEAGUE
    PLAYERS’ CONCUSSION INJURY LITIGATION


    Kevin Turner and Shawn Wooden, on behalf of
    themselves and others similarly situated,
                                                                         No. 2:12-md-02323-AB
                                              Plaintiffs                 MDL No. 2323

                     v.

    National Football League and NFL Properties, LLC,
    successor-in-interest to NFL Properties, Inc.,

                                              Defendants.


    THIS DOCUMENT RELATES TO:
    ALL ACTIONS




                            BRIEF IN SUPPORT OF MOTION FOR
                     RELIEF UNDER ARTICLE XXVII OF THE SETTLMENT
                      AGREEMENT OR FOR RELIEF FROM JUDGMENT

           The settlement agreement in this case (the “Settlement Agreement” or “SA”) resolved a

large and important dispute, making millions of dollars available to former football players with

certain qualifying diagnoses. But as administered, the Settlement Agreement is marred by an

unacceptable flaw: the NFL1 has been paying head-injury claims under that Agreement based on

a formula that explicitly and deliberately discriminates on the basis of race. When being evaluated

for neurocognitive impairment, Black former players have been automatically assumed, through a

statistical manipulation called “race-norming,” to have started with worse cognitive functioning



1
    Defendants the National Football League and NFL Properties, LLC are referred to collectively as “the NFL.”
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 2 of 25




than White former players. As a result, if a Black former player and a White former player receive

the exact same scores on a battery of tests designed to measure their current cognitive functioning,

the Black player is automatically assumed to have suffered less impairment, and he is therefore

less likely to qualify for compensation.       The effects of race-norming “can be extremely

consequential, and the adjustments may often make the difference in a clinician’s determination

of cognitive impairment . . . for Retired NFL Players seeking benefits under the Agreement.”

Decision of Special Masters Regarding Najeh Davenport at 7 (Aug. 20, 2020) (“SM Decision”).

       This Motion is filed by Kevin Henry and Najeh Davenport (the “Movants”), who are Black

members of the MDL’s Settlement Class and to whom the NFL has avoided (or is currently seeking

to avoid) paying compensation based on a discriminatory testing regime. This Motion is aimed at

ending the NFL’s discriminatory practice of making it harder for Black former players to be

compensated under the Settlement Agreement than it is for White former players, and providing a

remedy for Black Class members who have already experienced racial discrimination under the

Settlement Agreement.      They seek relief for all Black Class members to prevent future

discrimination against them in the administration of the Settlement Agreement, and to undo the

effects of past discrimination on Black former players who were denied benefits under a

discriminatory standard. As explained below, Class Counsel has declined to pursue these issues

on behalf of Black Class members. And they face insurmountable obstacles in representing those

Class members’ interests here, because of their role in creating the claims administration

documents which direct race-norming. SM Decision at 9.

       Pursuant to Article XXVII of the Settlement Agreement, Movants seek an Order

(1) declaring that the Settlement Agreement approved by this Court does not require or presume




                                                 2
       Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 3 of 25




“race-normed” determination of Neurocognitive Impairment,2 and enjoining this type of racial

discrimination to the detriment of Black former players for any claims currently being processed

and all future claims; and (2) permitting any member of the MDL class who has previously been

subjected to unfavorable race-based standards when being evaluated for a Qualifying Diagnosis to

be given the option to have his test scores reprocessed under a race-neutral standard and to submit

a claim based on the results.

         The use of a deliberate, explicit, racial classification – with Black and White former players

automatically subjected to different standards – is a blatant violation of the law. Such race

discrimination violates the equal protection principles of the U.S. Constitution if it is imposed by

government action, and is also contrary to federal law entitling Blacks to the same treatment under

contracts and in litigations as Whites. E.g., 42 U.S.C. § 1981.3

         The most natural interpretation of the Settlement Agreement is that it does not mandate the

racially discriminatory double standard that the NFL has advanced and that the Claims

Administrator has typically imposed against Black former players. And even if the Settlement

Agreement were ambiguous, it should be interpreted not to require or recommend race-normed

testing so as to avoid substantial doubts regarding whether it is void as against public policy.

However, if this Court disagrees and concludes that the Settlement Agreement unambiguously

requires discrimination on the basis of race, then that Agreement itself is an unlawful violation of

class members’ civil rights, and the Court should modify the Settlement Agreement under Federal

Rule of Civil Procedure 60(b) or its general equitable powers.




2
  Where capitalized, words and phrases have the meaning assigned in the Settlement Agreement.
3
  In addition to this Motion, Mr. Henry and Mr. Davenport, as representatives of a class of all Black members of the
MDL class subjected to race-norming, have today filed a separate class action complaint, as a related case to this one,
raising claims under § 1981.

                                                          3
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 4 of 25




       The relief requested here is warranted for the reasons set forth below. But if the Court

believes that a more complete record is needed to examine the discriminatory enforcement of the

Settlement Agreement, the Court should order limited discovery for that purpose.

                                          BACKGROUND

   A. Monetary Awards for Neurocognitive Decline Under the Settlement Agreement

       To receive a monetary payment under the Settlement Agreement, a former player must

receive a “Qualifying Diagnosis,” SA § 6.2(a), which means one of several listed diagnoses:

       (a) Level 1.5 Neurocognitive Impairment (i.e., early or mild dementia)
       (b) Level 2 Neurocognitive Impairment (i.e., moderate dementia)
       (c) Alzheimer’s Disease
       (d) Parkinson’s Disease
       (e) Death with Chronic Traumatic Encephalopathy (“CTE”)
       (f) Amyotrophic Lateral Sclerosis (“ALS”)

SA § 6.3(a).

       Diagnoses of “Level 1.5” or “Level 2” impairment reflect an estimate of a former player’s

decline from his prior level of neurocognitive functioning. To qualify for a diagnosis of Level 1.5

or Level 2 impairment, a former player must meet several criteria, including “[e]vidence of a

moderate to severe cognitive decline from a previous level of performance” for Level 1.5, SA Ex.

A-1 § 1(a)(ii), or “a severe cognitive decline” for Level 2. Ex. A-1 § 2(a)(ii). For former players

receiving their diagnosis under the Settlement Agreement’s Baseline Assessment Program

(“BAP”), the cognitive decline must be “determined by and in accordance with the standard

neuropsychological testing protocol” set forth in Exhibit A-2 to the Agreement. Id. §§ 1(a)(ii),

2(a)(ii). For former players diagnosed outside the BAP, the cognitive decline must be diagnosed

“based on evaluation and evidence generally consistent with the diagnostic criteria” set forth in

the BAP. Id. §§ 1(b), 1(c), 2(b), 2(c).




                                                4
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 5 of 25




       Under the Settlement Agreement, cognitive decline is measured in two steps. First, a

retired player undergoes an assessment used to classify his premorbid (pre-injury) intellectual

ability as “above average,” “average,” or “below average.” That classification determines which

of three tables is used to determine eligibility for benefits, based on neurocognitive tests of the

former player’s current level of functioning. The classification of the former player’s previous

intellectual ability can be based on a neurocognitive test of word recognition known as the Test of

Premorbid Functioning (“TOPF”), on demographic information (including race) alone, or on the

TOPF in combination with demographic information. SA Ex. A-2 § 3.

       Second, a retired player’s current neurocognitive functioning is determined by a battery of

tests in five different “domains”: (1) complex attention/speed of processing; (2) executive

functioning; (3) learning and memory; (4) language; and (5) visual-perceptual. Obtaining a result

for each of these tests requires taking a raw score and “norming” it against a reference population

to generate a “T-Score,” which is the ultimate metric of whether the player has demonstrated

impairment on a particular test. T-Scores reflect distance from the population’s mean: a player

with a T-Score of 50 is at the mean; a player with a T-Score of 40 is one standard deviation below

the mean; a player with a T-Score of 30 is two standard deviations below the mean; and so on.

       T-Scores must fall below specific numerical cutoffs in order to reflect impairment. SA Ex.

A-2 § 4. In introducing the cutoffs, the Settlement Agreement explains that “[t]he basic principle

for defining impairment on testing is that there must be a pattern of performance that is

approximately . . . 1.7–1.8 standard deviations (for Level 1.5 Impairment) or 2 standard deviations

(for Level 2 Impairment) below the person’s expected level of premorbid functioning,” as

measured by the applicable reference population. Id. To qualify for Level 1.5 or Level 2

Impairment, a retired player must exhibit the requisite degree of decline “in two or more domains”



                                                5
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 6 of 25




(out of five total), at least one of which must be complex attention, executive function, or learning

and memory. SA Ex. A-1 §§ 1(a)(ii), 2(a)(ii).

          These two steps interact to determine a former player’s ultimate diagnosis. The lower the

group to which the former player is assigned based on the assessment of pre-injury functioning

(from among the three categories of estimated prior ability -- below average, average and above

average), the lower his scores must be on the tests of his current neurocognitive functioning in

order for him to demonstrate impairment in any particular cognitive domain. See SA Ex. A-2 § 4

at 6–8.

          If a former player receives a Qualifying Diagnosis, he is eligible for a monetary award, the

amount of which depends on the diagnosis, the age when he received the diagnosis, the number of

years he played in the NFL, whether he participated in the NFL’s Baseline Assessment Program,

and other factors. SA Ex. A-3. If a former player receives a diagnosis of Level 1 Impairment, he

is not eligible for a monetary award, but is entitled to further monitoring and treatment.

   B. The NFL Has Successfully Urged that the Results of Neurocognitive Tests Be
      Manipulated on the Basis of Race

          The Settlement Agreement notes that each of the neurocognitive tests that it lists can be

scored differently for Black and White former players, but the Agreement does not require that

test scores must be adjusted for a player’s race, or that a clinician must justify any decision not to

make racial adjustments in a particular case. See SA Ex. A-2 § 4 (noting “the availability of

demographically-adjusted normative data for Caucasians and African Americans” on each test

(emphasis added)). Each of the neurocognitive tests specified in the Settlement Agreement can

also be scored in a race-neutral fashion.

          On information and belief, the language in the Agreement regarding “the availability” of

race-based test scoring was supplied by the NFL during settlement negotiations, but when the


                                                   6
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 7 of 25




former players voted to accept the Settlement Agreement, they were unaware that this language

would be used to justify discrimination against Black former players.

       Nonetheless, the NFL has frequently and successfully insisted that tests results be

“normed” or “corrected” based on a player’s race, to the disadvantage of Black former players.

The NFL has even opposed awards to Black former players that used race-neutral testing by

arguing that the Settlement Agreement requires the use of “race-normed” analysis. And the NFL

has advocated for race-norming both in setting claims administration policy and in litigating

individual claims before the Special Masters.

       First, in 2017, two years after the Settlement Agreement went into effect, the NFL and

Class Counsel developed a Clinician’s Interpretation Guide for the BAP (“the BAP Guide”) that

expressly urges clinicians to “correct” test scores based on a retired player’s race. SM Decision at

9. Specifically, the manual requires clinicians to “Convert test scores to demographically-

corrected T-scores via ACS software (use of the full demographic correction is recommended) or

Revised Comprehensive Norms for an Extended Halstead-Reitan Battery.” Id. (emphasis added

by Special Masters).    In the ACS testing software, “full demographic correction” includes

adjusting scores based on a player’s race. And the mention of “Revised Comprehensive Norms”

is a reference to the “Heaton norms,” the principal source for race-based reference population data

for neuropsychological tests. See Robert K. Heaton, et al., Revised comprehensive norms for an

expanded Halstead-Reitan Battery: Demographically adjusted neuropsychological norms for

African American and Caucasian adults. Professional Manual (2004) (“Heaton 2004”). The BAP

Guide was developed confidentially by the NFL and Class Counsel, without input from class

members or their individual counsel. The BAP Guide remains confidential.




                                                 7
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 8 of 25




        The BAP Guide is given to all Monetary Award Fund (“MAF”) Physicians, who are

required to provide it to any neuropsychologist who assists in diagnosing a retired player. On

information and belief, most of the clinicians making diagnoses as part of the Claims

Administration process have followed the NFL’s directions to “race-norm” the results of each

neurocognitive test. As an Appeal Advisory Panel Consultant stated in an October 2018 report:

“The NFL settlement guidelines are very specific in requiring the use of the Heaton norms for

several tests.”

        Second, the NFL has advocated for race-based manipulation of scores when litigating

individual claims before the Special Masters. The NFL has actively opposed testing that did not

employ race-norming, arguing that a retired player may only qualify for a monetary award on the

basis of a particular combination of scores on neuropsychological tests, and that the scores should

be adjusted for the retired player’s race. For example, on August 3, 2020, the NFL argued that a

Black retired player should not qualify for compensation, even though he had received qualifying

test scores for Level 2 Impairment, in part because the evaluating clinician “corrected only for age

(without providing any rationale for his decision not to use full demographic corrections).” The

NFL then proceeded to correct the player’s scores “for age, education, and ethnicity” (emphasis

added), which the NFL characterized as “the appropriate norms” for adjusting players’ test scores.

        In multiple filings, the NFL has invoked the “Heaton norms” referenced in the BAP Guide.

The NFL has repeatedly touted these race-based norms as “industry-standard” and has represented

that BAP neuropsychologists “most commonly use” them. Citing the BAP Guide, the NFL has

gone so far as to state that these norms “are mandated in the BAP,” even though the Settlement

Agreement does not say so.




                                                 8
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 9 of 25




       The NFL has even appealed Qualifying Diagnoses for Black former players that didn’t use

race-norming, expressly arguing that the Special Masters should reverse the Qualifying Diagnosis

because it was determined without a race-based adjustment specific to Black former players.

Conversely, in instances where Black retired players have appealed the denial of compensation

after having been scored using race-normed data, the NFL has stood by the use of race-norming

as a basis for subjecting Black retired players to more stringent standards, calling that practice

“industry standard.” In at least one, more recent case, the NFL has opposed an award to a Black

ex-player by arguing that even if race-norming is not required under the Settlement Agreement,

clinicians must specifically explain any decision not to engage in race-norming and must give a

“clinically reasonable explanation” for not doing so. This position affirmatively advocates the use

of an explicit, unlawful racial classification in the claims administration process.

       Although the NFL has been the active proponent of race-norming through its litigation of

individual claims, Class Counsel cooperated with the NFL in developing the BAP Guide in 2017,

which encourages race-norming. SM Decision at 9. The Special Masters construed this 2017

agreement as “result[ing] from a collaborative and iterative process.” SM Decision at 9. Under

the Special Masters’ Decision, continued discrimination in the implementation of the Settlement

Agreement is thus based on actions by Class Counsel as well as the NFL, which dictates separate

counsel on behalf of Black members of the Class to address this issue.

       Moreover, the discriminatory nature of race-norming has been brought to Class Counsel’s

attention as far back as August 2019 in the context of at least one appeal to the Appeals Advisory

Panel, and informally as well. However, the flaw in the Settlement Agreement’s administration

remains unaddressed, and the NFL continues to insist on testing that makes it harder for Black

players to qualify for benefits. And although the Special Masters’ Decision endorses the use of



                                                  9
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 10 of 25




race norming subject to rebuttal rather than requiring it to be used in all cases, it does not eliminate

the use of dual standards for Black and White former players. Nor does that Decision address the

thousands of Black Class members who have already suffered from the NFL’s actions in

completed testing and claims administration. This Court’s intervention is now required.

    C. Because of “Race-Norming,” it is Harder for Black Former Players to Qualify for
       Compensation than for White Former Players.

           “Race-norming” makes it substantially more difficult for Black players to qualify for

compensation than it is for White players. In effect, the Settlement, as it has been administered,

has a White door and a Black door. Although the neurocognitive tests behind each door are the

same, the raw scores for Black and White former players are interpreted differently when they are

converted to scaled T-Scores for purposes of determining eligibility for compensation. Thus, the

same raw performance results on the tests can lead to very different outcomes for Black players

and White players. The impact of this racial discrimination is exacerbated because the practice of

race-norming may be employed twice during the process of determining results on neurological

testing.

           First, clinicians have been scoring the assessment for premorbid (pre-injury) intellectual

ability using statistical techniques that explicitly account for a retired player’s race.         As a

consequence, if a Black retired player and a White retired player receive the exact same raw scores

on the TOPF, the Black player can still be placed in a lower estimated category of premorbid

intellectual ability. As noted above, the lower a player’s category of premorbid intellectual ability,

the lower his cognitive functioning will need to be on those tests to receive a Qualifying Diagnosis.

           Second, the “Heaton norms,” which the NFL has directed clinicians to use, provide

different reference populations for Black and White former players when clinicians score the

battery of tests that measure current cognitive functioning in each of the five “domains.” Under


                                                   10
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 11 of 25




the Heaton norms, the reference population used for Black test subjects scores lower than the

reference population used for White test subjects, sometimes by a substantial amount. See SM

Decision at 4. As a result, if a Black player and a White player receive the same raw score on one

of the tests, the Black player’s scaled T-score (which reflects the raw score relative to the “norm”

of the reference population) will be higher than the White player’s, and the Black player will be

less likely to fall below the T-Score ceiling for showing impairment.

       For purposes of the Qualifying Diagnoses of Level 1.5 or Level 2 Impairment as defined

in the Settlement Agreement, lower scores on the tests measuring current cognitive functioning

are better. A White player may qualify for benefits, but a Black player with an identical set of raw

scores may not -- because the T-Scores which actually determine eligibility are different. Put

differently, a Black player will need to exhibit even worse cognitive functioning to be deemed to

have suffered the same amount of cognitive decline as a White player. And this effect is

exacerbated by the use of race-norming in also categorizing players’ pre-morbid intellectual ability

as above average, average, or below average.

       Because of these two issues – individually and in combination -- a Black player must suffer

from significantly worse cognitive functioning than a similarly-situated White player in order to

be diagnosed with Level 1.5 or Level 2 Impairment and to qualify for compensation under the

Settlement Agreement.

       As the Special Masters recently observed, the effect of the race-based scoring urged by the

NFL “can be extremely consequential, and the adjustments may often make the difference in a

clinician’s determination of cognitive impairment . . . for Retired NFL Players seeking benefits

under the Agreement.” SM Decision at 7. For example, in the case of Mr. Davenport, one of the

Movants here, the Special Masters observed that using the race-based adjustment advocated by the



                                                11
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 12 of 25




NFL would have affected Mr. Davenport’s score on one test “by almost a full standard deviation.”

Id. at 7.

        The scientific case for using race-based norms in this context is weak at best. “The use of

race/ethnicity in normative data ignores the underlying cultural, health, and educational factors

that result in disparities in test performance; subsequently, adjustments are made based on group

membership, which may not fully represent the experiences and characteristics of a specific

individual.” SM Decision at 8 (citing N.C.S. Pearson, Advanced Clinical Solutions for WAIS-IV

and WMS-IV: Clinical and Interpretive Manual (2009)). Clinicians sometimes use race-normed

data in a diagnostic context with respect to an individual patient, where performance on

neurocognitive tests is considered along with other information about the patient’s individual

circumstances. See id. at 4–5. In contrast, race-norming has been recognized as more problematic

in contexts like this one where benefits or services are contingent on rigid score cutoffs. In this

context, “using ‘race-based’ normative data may result in minority examinees not receiving needed

services (e.g., increasing their scores above cutoffs).” Id. at 8 (citing Pearson, supra). “As using

African American-specific norms increases the rate of false negatives, there is a risk that some

may be denied access to necessary benefits or compensation solely on the basis of race.” Id.

    D. Movants’ Test Scores Have Been Subjected to Race-Norming, to Their Prejudice.

        Both Kevin Henry and Najeh Davenport have received neurocognitive test scores that

demonstrated the necessary cognitive decline had they been White. But because Mr. Henry and

Mr. Davenport are Black, their claims have been rejected, or the NFL is currently urging that they

be rejected, at least in part on the basis of race-norming.

        Mr. Henry played in the NFL for eight years between 1993 and 2000, all for the Pittsburgh

Steelers, retiring at the age of 33. During his playing career, Mr. Henry suffered multiple

concussions, at least one of which was severe enough to cause him to miss playing time. Since

                                                 12
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 13 of 25




retirement, Mr. Henry has suffered from persistent headaches, depression, emotional volatility and

memory loss and impaired cognitive ability. These symptoms have left Mr. Henry unable to hold

a job for the past eight years, and increasingly unable to perform the activities of daily living.

       Pursuant to the Settlement Agreement, on August 2, 2017, Mr. Henry received a

neurological examination by a MAF Physician. The MAF Physician concluded that Mr. Henry’s

test scores qualified him for Level 1.5 Impairment in one domain (executive functioning), and for

Level 2 Impairment in two domains (learning and memory, and language). Nonetheless, Mr.

Henry’s claim for benefits was denied. The denial decision explained: “Incorrect normative scores

were provided by [the evaluating clinician] and when the correct Heaton norms were used, there

were significant difference on [several tests].”

       On December 5, 2019, Mr. Henry received a second neurological evaluation under the

Settlement Agreement. This time, the evaluating clinician adjusted Mr. Henry’s raw scores using

a “Full Demographic Model . . . which includes age, education, race/ethnicity, and gender.” The

clinician determined that Mr. Henry’s test scores did not qualify him for Level 1.5 or Level 2

Impairment in any category. Based on his raw test scores in two different cognitive domains, if

Mr. Henry’s scaled T-Scores had been a single point lower on a single test (and they would have

been much lower if Mr. Henry had been White), his scores would have qualified him for Level 1.5

Impairment in each of the two domains. In explaining the discrepancy with the prior round of

testing, the clinician wrote: “different normative comparison groups were used at the previous

evaluation, which also may account for some discrepancies in the standard scores and meeting

impairment criteria.”

       Mr. Davenport played in the NFL for seven years between 2002 and 2008 for the Green

Bay Packers, Pittsburgh Steelers, and Indianapolis Colts, retiring at the age of 29. During his



                                                   13
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 14 of 25




playing career, Mr. Davenport suffered over 10 concussions, one of which was associated with an

orbital fracture and loss of consciousness. After multiple episodes of head impact, Mr. Davenport

experienced ringing in his ears, double vision, headaches, and photophobia. Since retirement, Mr.

Davenport has suffered from memory loss, progressive cognitive decline, and depression, and is

unable to perform basic household chores.

       Pursuant to the Settlement Agreement, Mr. Davenport received a neurological evaluation

by a MAF Physician on November 5, 2019. Declining to use the special scale for Blacks, the MAF

Physician concluded that Mr. Davenport’s test scores qualified him for Level 1.5 Impairment in

one domain (executive functioning), and for Level 2 Impairment in one domain (language). Mr.

Davenport received a Notice of Monetary Award from the Claims Administrator indicating that

he would receive compensation.

       But the NFL appealed Mr. Davenport’s claim determination, arguing in part that, “based

on the NFL Parties’ independent re-calculation of Mr. Davenport’s T-scores using the raw scores

provided by [the MAF Physician] and applying the industry standard Heaton norms, Mr.

Davenport did not demonstrate the requisite cognitive impairment in any domain.” (Emphasis in

original). As the NFL put it, the use of racial norms would have “materially and critically affected

the outcome of Mr. Davenport’s claim.”

       On August 20, 2020, the Special Master issued a decision in the NFL’s appeal of Mr.

Davenport’s monetary award. The decision recognized significant problems with race-norming,

observing that the use of “African American-specific norms increases the rate of false negatives,”

and as a result, some Black retirees “may be denied access to necessary benefits or compensation

solely on the basis of race.” SM Decision at 8. The decision, however, did not address Mr.

Davenport’s argument that race-norming is unlawful, and left in place a presumption in favor of



                                                14
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 15 of 25




race-norming, as advocated by the NFL. The Special Master remanded Mr. Davenport’s case to

the Claims Administrator to allow the neuropsychologist who tested Mr. Davenport to justify the

decision not to use Black norms. SM Decision at 11-12.

       The illegal use of race-based “norms” by the NFL and clinicians is not confined to Mr.

Henry and Mr. Davenport. The vast majority of Black members of the Settlement Class who have

been subjected to neurocognitive testing have had their test results distorted by these means. This

is an important and recurring legal question which should be resolved by this Court under Article

XXVII of the Settlement Agreement, in a way that affords relief to all Settlement Class members,

and there is no reason for delay.

                                          ARGUMENT

I.     This Court Should Declare that the Settlement Agreement Does Not Require or
       Presume the Use of Race Norming.

       Under Article XXVII of the Settlement Agreement, this Court retains continuing

jurisdiction over all participants in the claims administration process and may entertain motions

relating to the interpretation of that Agreement. Pursuant to its Article XXVII authority, the Court

should clarify that the Settlement Agreement does not require or presume that retired players who

seek compensation be subjected to a racially discriminatory cognitive testing regime.

       A.      The Settlement Agreement does not require clinicians to use or presumptively
               use race-norming.

       The plain language of the Settlement Agreement does not require that race norms be used

– or that they presumptively be used absent a specific reason not to use them – when estimating a

retired player’s cognitive decline. Interpretation of a settlement agreement, like any contract, must

begin with the language of the agreement itself. See, e.g., Zuber v. Boscov’s, 871 F.3d 255, 258

(3d Cir. 2017). And under the plain language of the Settlement Agreement, clinicians are not

absolutely required or presumptively required to use race norms at either stage of the process for

                                                 15
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 16 of 25




measuring a retired player’s prior cognitive decline – either the TOPF stage or the neurocognitive

test battery stage.

        First, race-norming is not required at the TOPF stage, during which a former player is

classified or tested for prior “intellectual ability.” See SA Ex. A-2 § 3. As the Settlement

Agreement recognizes, the TOPF test offers several different “models for predicting premorbid

functioning,” and some of the models “us[e] demographic data,” including “race/ethnicity.” Id.

But crucially, the Settlement does not require or even recommend that a diagnosing clinician select

a model that incorporates race-norming. Rather, the Settlement Agreement provides: “The

clinician should select a model based on the patient’s background and his or her current level of

reading or language impairment.” Id. There is no basis under the Settlement Agreement for

requiring clinicians to select (or presumptively select) race-normed data when estimating a former

player’s prior intellectual ability.

        Second, race-norming is neither absolutely nor presumptively required at the

neurocognitive test battery stage, during which a former player is tested for current cognitive

functioning in five different domains. The Settlement Agreement identifies specific tests to be

used in each of the cognitive domains, SA Ex. A-2 § 1, and it explains that “[t]est selection in the

domains was based on the availability of demographically-adjusted normative data for Caucasians

and African Americans.” SA Ex. A-2 § 4. This language explains that each test allows for a

patient’s raw scores to be normed against a reference population based on race. But it says nothing

about whether a clinician must presume the use of race-normed data in every case, and it certainly

does not require a clinician to offer special justification for declining to use that race-normed data.

As discussed below, the Special Masters’ determination that such a justification is required is based

not on the language of the Settlement Agreement itself, but on the 2017 BAP Guide. But a 2017



                                                  16
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 17 of 25




document, even one that the Special Masters conclude “represents the Parties’ [meaning Class

Counsel and the NFL] joint understanding of the Agreement” (SM Decision at 9) cannot alter the

Settlement Agreement without notice to the Class and approval by this Court.

       Moreover, evaluation of claims outside the BAP process need only be “generally

consistent” with the BAP criteria. SA Ex. A-1 § 1(b), 2(b). The phrase “generally consistent”

“does not require identical diagnostic criteria, including without limitation, the same protocols or

documentation requirements.” SA § 6.4(b). Accordingly, even if the testing protocols specifically

set forth for the BAP in the Settlement Agreement did require or presumptively require race-

norming (and they do not), diagnoses outside the BAP do not.

       Finally, if the Court finds that the language of the Settlement Agreement is ambiguous on

these points, it should construe the Settlement Agreement so as not to require that clinicians

presume the use of race-normed data, in order to avoid the Settlement Agreement being

unconstitutional or void as against public policy. Court enforcement of a contract term that

perpetuates racial discrimination would violate the equal protection guarantee of the U.S.

Constitution. See Shelley v. Kraemer, 334 U.S. 1, 20–21 (1948). In addition, the public policy

doctrine “may also void a contract term if that term offends the laws prohibiting racial

discrimination.” Pryor v. NCAA, 288 F.3d 548, 570 (3d Cir. 2002). This Court is empowered to

construe ambiguous contract provisions so as to avoid these results. Cf. Bartlett v. Strickland, 556

U.S. 1, 21 (2009) (resolving doubt as to meaning of statutory provision so as to “avoid[] serious

constitutional concerns under the Equal Protection Clause”).

       B.      To the extent that the confidential BAP Guide requires clinicians to presume
               the use of race norms, it is an unauthorized amendment to the Settlement
               Agreement.

       According to the recent decision of the Special Masters with respect to Movant Davenport,

the BAP Guide “generally recommend[s]” the use of race norms, and as such, “it is reasonable to

                                                17
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 18 of 25




require that the clinician explain why” he or she chose not to use race norms in any particular case.

SM Decision at 11. According to the Special Masters, this rule “is consistent with the Settlement,

which explicitly states that tests were selected based on their susceptibility to norming using

samples with sufficient African American participants.”         Id. at 9–10.    But the Settlement

Agreement merely observes that race-based demographic data is available; the Agreement does

not urge clinicians to engage in race-norming or require that they expressly justify any decision

not to do so in a particular case.

        If the BAP Guide requires clinicians to presume the use of race norms, it is an amendment

to the Settlement Agreement. But amendments are permissible only “upon Court approval.” SA

§ 30.6. Submission of a proposed amendment for Court approval would have offered Class

members a chance to be heard. The BAP Guide, in contrast, was developed confidentially by the

NFL and Class Counsel in “a collaborative and iterated process,” SM Decision at 9, with no

opportunity for Class members to be heard. To the extent that the BAP Guide requires clinicians

to presumptively adjust players’ raw test scores using race-based data, or to explain any decision

not to do so in a particular case, it is an amendment to the Settlement Agreement that did not

receive Court approval, and the Court should now reject it.

                                          *      *       *

        In reaching the Settlement Agreement, retired players never agreed to be subjected to racial

discrimination when they submit claims for compensation. This Court should clarify that the

Settlement Agreement neither requires nor presumes that result.




                                                 18
       Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 19 of 25




II.     This Court should declare that it is unlawful to use race-based norms to the detriment
        of Black Former Players.

        The Court should declare that it is unlawful to make it harder to qualify for compensation

under the Settlement Agreement by using Black-specific race-based adjustments.

        The Settlement Agreement is subject to the supervision of this Court, and as such, its

administration must comply with the guarantees of equal protection on the basis of race in the U.S.

Constitution. See Democratic Nat’l Cmtee. v. Republican Nat’l Cmtee., 673 F.3d 192, 204 (3d

Cir. 2012) (noting that “a court’s enforcement of a settlement decree can constitute state action

under Shelley [v. Kraemer, 334 U.S. 1 (1948)]”). Racially discriminatory administration of the

Settlement Agreement also violates the rights of Black former players under federal law to obtain

the equal benefit of contracts and to participate in legal proceedings on an equal footing with White

former players. See 42 U.S.C. § 1981.

        The use of race-norming to the detriment of Black former players represents an explicit,

deliberate, race-based classification that cannot survive strict scrutiny. The application of racial

classifications is subject to “stringent examination” and can be justified only if the practice is

narrowly tailored to serve a compelling interest. Regents of Univ. of Cal. v. Bakke, 438 U.S. 265,

291 (1978). The discriminatory use of race norms to the detriment of Black former players cannot

survive these standards, and the Court should therefore declare that it is unlawful.

III.    In the Alternative, if the Court Concludes that the Settlement Agreement Requires
        Clinicians to Use or Presumptively Use Race-Norming, then the Settlement
        Agreement Should Be Vacated in Part Under Federal Rule of Civil Procedure 60(b),
        or the Court’s Equitable Powers.

        As set forth above, the Settlement Agreement does not require clinicians to use or

presumptively use “race-norming,” and even if ambiguous, must not be interpreted in that fashion.

But if the Settlement Agreement does require clinicians to presume race-norming, making it

substantially harder for Black retired players to qualify for compensation than White ones, then

                                                 19
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 20 of 25




Movants seek amendment of that aspect of the Settlement Agreement pursuant to Federal Rule of

Civil Procedure 60(b), or the Court’s equitable powers.

         A district court “has the general equitable power to modify the terms of a class action

settlement,” especially when necessary in the exercise of the court’s “special responsibility to see

to the administration of justice . . . for the protection of class members.” In re Cendant Corp.

Prides Litig., 233 F.3d 188, 194 (3d Cir. 2000). “[W]hen parties avail themselves of the District

Court to implement [a class action] settlement, the District Court may use its traditional powers”

to advance the administration of justice, including both “its power in equity” and its powers under

“the Federal Rules of Civil Procedure.” Id. at 195; see also In re Diet Drugs Prod. Liability Litig.,

706 F.3d 217, 227 (3d Cir. 2013) (describing court’s “general equitable power to modify the terms

of a class action settlement” and referencing the standard for modifying a judgment under Rule

60(b)).4

         First, any provisions of the Settlement Agreement that the Court construes to require race-

norming should be vacated under Rule 60(b)(5) on the ground that “applying [those provisions]

prospectively is no longer equitable.” Under this clause of Rule 60(b)(5), it is appropriate to

modify or vacate a judgment with prospective application where: (1) there has been “a significant

change in factual circumstances” or (2) “a significant change in law”; (3) “a decree proves to be

unworkable because of unforeseen obstacles”; or (4) “enforcement of the decree without

modification would be detrimental to the public interest.” Democratic Nat’l Cmtee., 673 F.3d at


4
  In opposing one class member’s Rule 60(b) motion on a different issue, the NFL Parties previously argued that
“alter[ing] the negotiated-for and agreed-to terms of a settlement agreement” is “outside the scope of permitted relief”
available via the Court’s equitable powers. ECF 9592 at 8–9. That is wrong. In the principal case that the NFL cited,
the Third Circuit explained that when deciding whether to extend a settlement agreement deadline for excusable
neglect under Rule 6(b), the fact that the extension would change the parties’ bargained-for terms is relevant to the
“prejudice prong” of the Rule 6(b) standard. In re Cendant Corp., 233 F.3d at 196. But the Court of Appeals never
suggested that changing the parties’ bargained-for terms is “outside the scope of permitted relief,” as the NFL Parties
earlier argued, ECF 9592 at 9; to the contrary, the court stated that district courts have “general equitable power to
modify the terms of a class action settlement.” In re Cendant Corp., 233 F.3d at 194 (emphasis added).

                                                          20
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 21 of 25




202; see also White v. NFL, 585 F.3d 1129, 1136 (8th Cir. 2018) (applying this standard to a

motion to modify a class action settlement agreement between the NFL and players). Given that

the Class Notice in this case said absolutely nothing about the fact that claims would be adjudicated

using racially discriminatory testing protocols, see ECF 6084-1, the use of race-norming is both a

changed factual circumstance and an “unforeseen obstacle.” See Pigford v. Veneman, 292 F.3d

918, 926 (D.C. Cir. 2002) (holding that modification to consent decree might be appropriate under

Rule 60(b)(5) and noting that class members can overcome background presumption that they are

accountable for class counsel’s actions). Moreover, enforcement of a settlement that requires

racial discrimination would clearly be “detrimental to the public interest.”

       Second, even if none of the specific grounds for relief in Rule 60(b)(1)–(5) applied, the use

of racially discriminatory cognitive testing is an “other reason that justifies relief” under Rule

60(b)(6). Rule 60(b)(6) is an admittedly narrow avenue, but it provides relief when a movant

shows “extraordinary circumstances that justify reopening the judgment.” Budget Blinds, Inc. v.

White, 536 F.3d 244, 255 (3d Cir. 2008) (internal quotation marks and citation omitted). The

circumstances here are indeed extraordinary: they constitute overt race discrimination in the

administration of justice.    See Buck v. Davis, 137 S. Ct. 759, 778 (2017) (noting that

“[d]iscrimination on the basis of race, odious in all aspects, is especially pernicious in the

administration of justice,” and “[s]uch concerns are precisely among those we have identified as

supporting relief under Rule 60(b)(6)”). The presence of race discrimination warrants an exercise

of this Court’s “equitable power to modify the terms of a class action settlement,” so as “to see to

the administration of justice.” In re Cendant Corp. Prides Litig., 233 F.3d at 194.

       If the Court concludes that the Settlement Agreement requires clinicians to presume that

test scores be race-normed to the detriment of Black former players, then relief from judgment



                                                 21
       Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 22 of 25




under Rule 60(b)(6) or the Court’s equitable power is necessary to avoid this Court becoming an

instrument of racial discrimination through enforcement of the Settlement Agreement.

IV.      Relief

         The use of race-norming is a blatant instance of race discrimination in the administration

of justice. Movants seek the Court’s help in remedying the injustice through the following relief:

      1. Declaring, for purposes of all future claims for compensation and all future appeals to the

         Special Masters, that the Settlement Agreement does not require clinicians to use or

         presume the use of race-norming when measuring a retired player’s cognitive status or

         decline, and that the use of race-norming to the detriment of Black former players is

         unlawful;

      2. Ordering and enjoining the Claims Administrator to issue guidance documents to all

         clinicians who make diagnoses for purposes of the Settlement Agreement stating that: (a)

         the Settlement Agreement does not require or recommend the use of race-norming; and (b)

         all of the neurocognitive tests identified in the Settlement Agreement must be scored in

         such a way that does not use race-normed data or race-based statistical techniques to the

         detriment of Black former players;

      3. Enjoining the required or presumed use of any such race-normed data or race-based

         statistical techniques to the detriment of Black former players in the claims administration

         process;

      4. Ordering that any retired player who has previously undergone neurocognitive testing for

         the purpose of seeking compensation under the Settlement Agreement, and who has been

         subjected to unfavorable race-based scoring, may choose to have his test scores re-

         calculated using his existing raw scores, without unfavorable race-norming, and may



                                                 22
      Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 23 of 25




         submit a claim for compensation using the new scores, which will be treated as though it

         had been submitted at the time of his prior testing;

    5. Ordering any further relief necessary to place such retired players in the same position that

         they would have been in, if no such race-norming had been used;

    6. In the alternative, ordering limited discovery5 into the use of race-normed data in the

         Settlement Agreement and the claims administration process and its disparate effects on

         Black and White retired players; and

    7. Appointing Movants’ counsel as special class counsel to oversee the above-referenced

         relief and any associated changes to the Settlement Agreement, and authorizing an

         appropriate award of attorney’s fees and expenses, whether from the Monetary Award

         Fund or otherwise.

                                                CONCLUSION

         The Settlement Agreement accomplished much for retired players. But the use of racially

discriminatory testing rules places a blot on that record. This Court should intervene to end the

practice of race-norming to the detriment of Black former players, to ensure that all players have

an equal opportunity to avail themselves of the claims administration process, without

discrimination on the basis of race.


                                                      Respectfully submitted,


Dated: ___August 25, 2020___                          ____/s/ Cyril V. Smith____
                                                      Cyril V. Smith*
                                                      Zuckerman Spaeder LLP
                                                      100 E. Pratt Street, Suite 2440
5
 See Pearson, 893 F.3d at 987 (reversing denial of Rule 60(b)(6) motion challenging side-payments to objecting class
members and stating that, “[o]n remand, the parties and the court can tailor evidentiary proceedings to resolve any
factual disputes before confronting the propriety of any remedy”); Pearson v. First NH Mortg. Corp., 200 F.3d 30, 35
(1st Cir. 1999) (holding, under bankruptcy equivalent to Rule 60(b), that court has discretion to order discovery once
movant makes a “colorable” claim for relief).

                                                         23
         Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 24 of 25




                                             Baltimore, MD 21202
                                             (410) 332-0444
                                             csmith@zuckerman.com



                                             ___/s/ Steven N. Herman    _
                                             Aitan D. Goelman*
                                             Steven N. Herman (Bar No. 205832)
                                             David A. Reiser*
                                             Ezra B. Marcus*
                                             Megan S. McKoy*6
                                             Zuckerman Spaeder LLP
                                             1800 M Street, 10th Floor
                                             Washington, DC 20036
                                             (202) 778-1800
                                             agoelman@zuckerman.com
                                             sherman@zuckerman.com
                                             dreiser@zuckerman.com
                                             emarcus@zuckerman.com
                                             mmckoy@zuckerman.com



                                             ___/s/ Edward S. Stone______
                                             Edward S. Stone
                                             Edward Stone Law P.C.
                                             300 Park Avenue, 12th Floor
                                             New York, NY 10022
                                             (203) 504-8425
                                             eddie@edwardstonelaw.com



                                             ____/s/ J.R. Wyatt
                                             J.R. Wyatt
                                             JR Wyatt Law
                                             49 West 37th Street, 7th Floor
                                             New York, New York 10018
                                             (215) 557-2776
                                             justin@jrwyattlaw.com


                                             Attorneys for Movants


*
    Pro hac vice applications forthcoming.

                                               24
     Case 2:12-md-02323-AB Document 11169-1 Filed 08/25/20 Page 25 of 25




                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was filed

electronically with the Clerk of the Court on the 25th day of August 2020, to be served by operation

of the Court’s electronic filing system which sent notification of such filing via electronic mail to

all counsel of record.



Dated: ____August 25, 2020_____                               /s/ Steven N. Herman____




                                                 25
